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IN THE UNITEBS1WEES PiBR CT COURT
NORTHERN DISTRICT OF TEPINOIS
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EOLAS TECHNOLOGIES INCORPORATED, ) Civil Action No. 99 C 0626
)
and )
)
THE REGENTS OF THE UNIVERSITY OF )
CALIFORNIA, a California educational )
corporation, )
}
Plaintiffs, ) Hon. James B. Zagel
)
VS. ) -
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MICROSOFT CORPORATION, )
) May | ©
Defendant. ) cM Cp
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) Ru wy
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NOTICE OF MOTION AND MOTION IN LIMINE "Coup,
S "
TO: H. Michael Hartmann, Esq. David T. Pritikin, Esq. os aS
LEYDIG, VOIT & MAYER, LTD. SIDLEY & AUSTIN SS >
180 North Stetson Avenue One First National Plaza oh °
Two Prudential Plaza 2 South Dearborn ®
Suite 4900 Chicago, IL 60603

Chicago, IL 60601-6780

PLEASE TAKE NOTICE that at such time as directed by the Court, the
parties shall appear before the Honorable James B. Zagel in Room 2103 of the United States District
Court for the Northern District of Illinois, Eastern Division, 219 South Dearborn Street, Chicago,
Illinois, or before any other judge sitting in his place and stead, and then and there present Plaintiffs’
Memorandum of Law in Support of Their Motion in Limine to Compel Microsoft to Make
Available its Employees to Plaintiffs During Trial, a copy of which is hereby served upon you.

20036730, |
Dated: March 10, 2003

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ROBINS, KAPLAN, MILLER & CIRESLL.L.P.
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Martin R. Lueck (MN Bar No. 155548)

Martin R. Lueck (MN Bar No. 155548)

Jan M. Conlin (MN Bar No. 192697)
Richard M. Martinez (MN Bar No. 225411)

2800 LaSalle Plaza

800 LaSalle Avenue
Minneapolis, MN 55402-2015
(612) 349-8500

AND

KEEGAN, LATERZA, LOFGREN & GLEASON

Thomas B. Keegan (IL Bar No. 6196077)
Edward W. Gleason (IL Bar No. 6204438)

566 West Adams Street
Suite 750

Chicago, [IL 60661
(312) 655-0200

ATTORNEYS FOR PLAINTIFFS EOLAS
TECHNOLOGIES INCORPORATED AND
THE REGENTS OF THE UNIVERSITY

OF CALIFORNIA

 
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PER EIMES S88 Speer rie
CERTIFICATE OF SERMICE
I, Nicholas S. Boebel, an attorney; on oath hereby 68 Hi hat { caused copies of the foregoing
to be served upon the persons to whom the Notice is directed, by causing a copy of same to be
delivered by facsimile and sent via Federal Express on this 10th day of March, 2003:

. Notice of Motion and Motion in Limine; |

Plaintiffs’ Memorandum of Law in Support of Their Motion in Limine to Preclude
Microsoft from Introducing Exhibits Not Identified on the Trial Exhibit List;

° Notice of Motion and Motion in Limine;
Plaintiffs’ Memorandum of Law in Support of Their Motion in Limine to Order
Admissibility Of Documents or Testimony of a Witness Regarding Foundation and
Authenticity;

° Notice of Motion and Motion in Limine;

Piaintiffs’ Memorandum of Law in Support of Their Motion in Limine to Exclude

Evidence of Alleged Inequitable Conduct and Prosecution Irregularities at the Jury
Trial;

. Notice of Motion and Motion in Limine;

Plaintiffs’ Memorandum of Law in Support of Their Motion in Limine to Compe!
Microsoft to Make Available its Employees to Plaintiffs During Trial;

. Notice of Motion and Motion in Limine;

Plaintiffs’ Memorandum of Law in Support of Their Motion in Limine to Exclude
Opinion Evidence of Creighton Hoffman;

° Declaration of Nicholas S. Boebel in Support of Motions in Limine.

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Nicholas $. Boebel

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT MO ILINOIS
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EOLAS TECHNOLOGIES INCORPORATED, rs cre OUR
and Case No. 99 C 0626

THE REGENTS OF THE UNIVERSITY OF Judge James B. Zagel

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CALIFORNIA, )
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Plaintiffs, 5
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Defendant. ) ee

PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
MOTION IN LIMINE TO COMPEL MICROSOFT TO MAKE
AVAILABLE ITS EMPLOYEES TO PLAINTIFFS DURING TRIAL

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INTRODUCTION

In the interest of facilitating the orderly presentation of trial testimony, Plaintiffs have,
consistent with established law, requested that Microsoft make certain of its employees available to
testify during Plaintiffs’ case-in-chief. Microsoft has responded with a flat refusal to make any
Microsoft witness available unless subject to compulsion by subpoena. Boebel Decl., Ex. E at 3
(“...Microsoft will not give a blanket agreement to bring any of its current employees...to the trial
upon plaintiffs’ request [including] witnesses that Microsoft may ultimately decide to use in its case
in chief”). Plaintiffs respectfully request that this Court enter an Order that any witness who will
testify live be made available to testify live during the case-in-chief of the opposing party.

ARGUMENT

This Court has the obligation to ensure that evidence is presented in a manner fair to both
parties so as to further the fundamental goal of ascertaining the truth at trial. Fed. R. Evid. 611. In
order to avoid the unfairness inherent in asymmetric opportunities to present evidence, courts have
compelled a party to make available a witness that party may rely upon at trial during the opposing
party’s case-in-chief. See. e.¢., Inre Gulf Oil/Cities Service Tender Offer Litigation, 776 F. Supp.
$38, 839 (S.D.N.Y. 1991). The courts of this district have likewise held that a party may not rely
on witness testimony if it fails to make the witness available during the opposing party’s case. Niebur
v. Town of Cicero, 212 F. Supp. 2d 790, 806 (N.D. Ill. 2002) (relying on In re Gulf Oil and stating

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that control over the witness is not dispositive at least when “‘the interests of [the corporate

defendant] and of [the individual defendant] himself that would be served by having [the individual

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defendant] stay away during plaintiffs’ case and then become available during defendants’ case are
indistinguishable one from the other.””).

This Court should prevent prejudice to either party, and further the truth-seeking function of
trial, by requiring that any party who will rely on live testimony from any witness must make that
witness available during the case presentation of the opposing party. In circumstances similar to
these, courts routinely enter orders mandating that a party not rely on evidence that it makes
unavailable to the opposing party. As the trial court held In re Gulf Oil/Cities Service Tender Offer
Litigation, 776 F. Supp. 838 (S.D.N.Y. 1991), “if [an employee of defendant] elects to absent
himself during plaintiff's case, he will not testify at all.” Id. at 839; accord Niebur_v. Town of

Cicero, 212 F. Supp. 2d 790, 806 (N.D. Ill. 2002). This Court should follow the sound precedent

 

of both Niebur and In re Gulf Oil and order Microsoft to make witnesses that it may rely on for live
testimony during its case, available during Plaintiffs’ case-in-chief.
CONCLUSION
Microsoft has, so far, refused to make available any witness, including those it may rely upon
at trial available to testify during Plaintiffs’ case-in-chief. Plaintiffs respectfully request that this
Court enter an Order directing Microsoft to make any witness it may rely on for live testimony

during its case, available to testify during Plaintiffs’ case-in-chief.

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Dated: March 10,2003

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